Case 18-24646-RBR Doc 6

Fill in this information to identify your essex

Michael A. @gano

Firat Narna

Debtor 1

 

Debtor 2
(Spouse, if nling) Fim Name

 

United States Bankrupt

Case number
(ll known)

Filed 11/26/18 Page 1 of 3

Checl< Olie box Only as directed in this form and m
Form 122A-1Supp;

g 1. There is no presumption of abuse.

n 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Celculetion (Ott`\ciai Form 12?_A-2).

D 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

 

Ofl`lcial Form 122A-1

 

Chapter 7 Statement of Your Current Monthly lncome

n Check if this is an amended filing

12115

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. lf more
space ls needed, attach a separate sheet to thls form. include the l|ne number to which the additional lnformatlon appl|es. On the top of any

additional pages, write your name and case number (lf known). if you believe that you are
do not have primarily consumer debts or because ot qualifying military service, complete
Abuse Under § 707(b)(2) (Otticlal Form 122A-15upp) with this tonn.

m Calculate Your Curront Monthly lncome

exempted from a presumption of abusebecause you
and file Stetement of Exemptlon from Ph:sumptlon of

 

1. What ls your marital and iiilng status? Check one only.
n Not married. Fll out Column A, lines 2~11.

\
i
l
|

n Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

" a larried and your spouse is NOT filing with you. You and your spouse are:
Cl
El

leing in the same household and are not legally separated Fill out both Columns A and B, lines 2-11.

lelng separately or are legally separated. Fill out Column A1 lines 2-11; do not lill out Column B. By checking this box. you declare
under penalty of perjury that you and your spouse are legally wparated under nonbankmptcy law that applies or that you and your

 

g spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill ln the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example. if you are filing on September 15, the 6-month period would be March 1 through
August 31. lf the amount of your monthly income varied during the 6 months. add the income for all 6 months and divide the total by 6.

. Your gross wages, salary, tjps, bonuses, overtime, and commissions
(before all payroll deductions).

. Nimony and maintenance payments. Do not indude payments from a spouse if
Column B is filled in.

. Nl amounts from any source which are regularly paid for household expenses
ot you or your dependerrts, including child support include regular contributions

§ from an unmarried partner, members of your househoid, your dependents parents,

5 and roommates. include regular contributions from a spouse only if Column B is not

lilled in. Do not include payments you listed on line 3.

. Net income from operating a business, profession,

 

 

 

 

 

or f Debtor 1 Debtor 2
»_ Gross receipts (before all deductions) $__ $
§ Ordinary and necessary operating expenses - $ - $_____
Net monthly income from a business, profession. or farm $ 5 :::;y_)
6. Net income from rental and other real property Debtor 1 Debtor 2
Gross receipts (before all deductions) $ $
:‘ Ordinary and necessary operaan expenses - $ - $_____
Net monthly income from rental or other real property $2,()()()_( $_’___ :::y_)
l ___

interest dividends, and royalties

Ollicial Form 122A-1

Chapter 7 Statement of Your Current Monthly lncome

Fill in the result Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. lf you have nothing to report for any line, write $0 in the space.

 

Column A Column B i

Debtor 1 Debtor 2 or i
non-filing spouse :

s s 2,000.00

s s z

$ $

$______ $

$ 2 000.00 s \\ z

$

wage 1

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oebior 1 Michael A. Pagano case number mmi
First Neme Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
y . non-filing spouse
§ 8. Unemployment compensation $ $

l

Do not enter the amount if you contend that the amount received was a benth
under the Social Security Act_ lnstead, list it here: . ..............................

 

 

For you $
For your spouse $
§ 9. Pension or retirement income. Do not include any amount received that was a
benetit under the Social Security Act. $ $

10. income from all other sources not listed above. Specify the source and amount

§ Do not include any benefits received under the Socia| Secun'ty Act or payments received

§ as a victim of a war crime, a crime against humanity, or intemational or domestic
terrorism. |f necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

 

$ $
$
Tolal amounts from separate pages, if any. + $ + $
§ 11. Calcu|ate your towl current monthly |ncome. Add lines 2 through 10 for each ' ‘ + § § _
§ column. Then add the total for Column A to the total for Column B. ;` $ 2,000.00§ , $ 2,000.00 §'_ $ 4,000.00
` g l l t § § l
1 Total current
monthly income
Part 2: Determ|ne Whether the Means Teet Applies to You
§ 12.Calculate your current monthly income forthe year. Follow these steps: w |_ y §
§ 12a. Copy your total cunent monthly income from line 11. copy line 11 here') § $M ;
Multiply by 12 (the number of months in a year). X 12
12b. The result is your annual income for this part of the fonn. 12b. § $ZA,Q_Q_O__D_O
§ 13. Calculate the median family income that applies to you. Foliow these steps:
Firr in the stare in which you rive. § Flon'da §
Fill in the number of people in your household. 1
Fill in the median family income for your slate and size of household. ......... 13. $ 50309

 

 

 

To lind a list of applicable median income amounts, go online using the link specilied in the separate
instructions for this fonn. This list may also be available at the banknrptcy clerk’s oflice.

14. now do the lines compan?

14a. i Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. n Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Fon'n 122A-2.
§ GotoParrsandrillomFonmzzA-z.

 

By signing here, l declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

 

Signature of Debtor 1 Signatune of Debtor 2
m 11/26/2018 pate
MM/ DD lVY`(Y MMIDD lYY¥Y

if you checked line 14a, do NOT till out or h|e Form 122A-2.
if you checked line 14b, lill out Form 122A-2 and lile 'rt with this fonn.

Ofl'icia| Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

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Fill iii tllis information to identify your case

centum Michael A. Pagano

 

Finit Name Midde Name

Debtor 2

 

(Spouse. ii tillng) Frrsi Name wade Nerne

United Slales Bankruptcy pourl for the: Southem District of F|orida

Case number

 

(if known)

 

 

Ofi”lciai Form 122A-1Supp

 

n Check if this is an amended filing

Statement of Exemption from presumption of Abuse Under § 707(b)(2) 12/15

 

File this supplement together with Chapter 7 Statement of Your Current Monthiy income (Othcial Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. if two married people are iiling together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is

required by 11 u.s.c. § 101(b)(2)(c).

Idontlfy the Klnd of Debts You Have

 

g

§ 1. Are you debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8) as "incumed by an individual primarily for a
§ personal family, or household purpose.' Make sure that your answer is consistent with the answer you gave at line 16 of the Voiuntary Petiu'on for

lndividu s Fr`ling for Bankruptcy (Oiiiciai Form 101 ).

a Yes. Go to Pal12.

cl No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption ofabuse, and sign Palt 3. Then
submit this supplement with the signed Form 122A~1.

 

mm Whother Illltary Service Provlslons Apply to You

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

§ No. soto line 3_

n Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?

10 u.s.c. § 101(d)(1); 32 u.s.c. § 901(1)_
Cl No. co lo line 3.

_i 3. Are you or have you been a Reservist or member of the National Guard?
§ g No. Compiete Form 122A-1. Do not submit this supplement

m Yes. Go to Form 122A-1; on the top of page 1 of that forrn, check box 1, There is no presumption ofabuse, and sign Part 3.
Then submit this supplement with the signed Form 122A-1.

n Yes. Were you called to active dutyor did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

§ n No. Comp|ete Forrn 122A-1. Do not submit this supplement
n Yes. Check any one of the following categories that applies:

|Il l was called to active duty after september 11, 2001, for ar least

90 days and remain on active duty.

El lwaseulle<lwaecveduiyanersepwmbern,zom,roraileasl
90 days and was released from active duty on
which is fewer than 540 days before l file this bankruptcy case.

before l tile this bankruptcy case.

Ofiicial Form 122A-1Supp

 

m l am performing a homeland defense activity for at least 90 days.

cl l periormed a homeland defense activity for at least 90 days,
ending on , which is fewer than 540 days

if you checked one of the categories to the left, go to
Fonn122A-1. On the top ofpage 1 of Form122A-1,
check box 3, The Means Test does not apply now, and
sign Palt 3. Then submit this supplement with the signed
Form 122A-1. You are not required to till out the rest of
Ofi'iciai Form 122A-1 during the exclusion period. The
exclusion period means the time you are on active duty
or are performing a homeland defense activity, and for
540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).

if your exclusion period ends before your case is closed.
you may have to tile an amended form |ater.

Statement of Exemption from Presumption of Abuse Under § 707(b)(2)

 

 

